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                                                            [DO NOT PUBLISH]

               IN THE UNITED STATES COURT OF APPEALS

                        FOR THE ELEVENTH CIRCUIT
                         ________________________                  FILED
                                                          U.S. COURT OF APPEALS
                                No. 11-15649                ELEVENTH CIRCUIT
                                                                JUNE 22, 2012
                            Non-Argument Calendar
                                                                 JOHN LEY
                          ________________________
                                                                  CLERK

                      D.C. Docket No. 1:10-cv-04035-RLV

DEXTER WEBB,

                                                        Plaintiff-Appellee,

                                     versus

THE CITY OF RIVERDALE,
AUGUSTUS PALMER, III, a.k.a. Augustus Palmer,
SAMUEL F. PATTERSON, Chief of Police; in his
individual and official capacity as a police officer,
OFFICER VEASNA SRENG, in her individual and
official capacity as a police officer,
CAPTAIN PAUL WEATHERS, in his individual and
official capacity as a police officer,

                                                        Defendants-Appellants,

THE CITY OF RIVERDALE POLICE DEPARTMENT, et al.,

                                                        Defendants.
                          ________________________

                  Appeal from the United States District Court
                     for the Northern District of Georgia
                        ________________________
                                (June 22,2012)
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                                       (2 of 4)
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Before CARNES, WILSON and COX, Circuit Judges.

PER CURIAM:

      Dexter Webb brought this civil rights action against the City of Riverdale and

various City of Riverdale police officers in their individual and official capacities.

While this action was pending, Webb filed for Chapter 7 bankruptcy protection, but

failed to disclose this pending lawsuit. When the defendants discovered Webb did

not list this case in his bankruptcy petition, they filed a motion for summary judgment

based upon the doctrine of judicial estoppel.

      The district court denied the motion for summary judgment, but dismissed

Webb’s civil action on the ground that only the Trustee in Webb’s Chapter 7

bankruptcy proceeding had standing to pursue the action. The dismissal was without

prejudice.

      On appeal, Webb agrees that he does not have standing to prosecute this case.

His brief states, “Since Appellee filed a Chapter 7 petition, the Trustee became the

real party in interest of Appellee’s claims at the time of his filing. . . . Therefore,

Appellee lost his right to litigate the claim immediately at the time of filing.”

(Appellee’s Br. at 14.)

      Webb’s position is in accord with our precedent. In Parker v. Wendy’s Int’l,

Inc., 365 F.3d 1268 (11th Cir. 2004), we explained that

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      a pre-petition cause of action is the property of the Chapter 7 bankruptcy
      estate, and only the trustee in bankruptcy has standing to pursue it. . . .
      Thus, a trustee, as the representative of the bankruptcy estate, is the
      proper party in interest, and is the only party with standing to prosecute
      causes of action belonging to the estate.

Id. at 1272 (citations omitted). Therefore, the district court did not err by dismissing

the case on this basis. We affirm the judgment dismissing the action without

prejudice.

      Because Webb did not have standing to prosecute the case, the district court

should have refrained from ruling on the defendants’ motion for summary judgment.

Therefore, we vacate the district court’s order denying the motion. Should the

bankruptcy Trustee abandon this claim back to Webb, and Webb refiles this case,

then the question of judicial estoppel, if raised, would properly be before the court.

      AFFIRMED IN PART, VACATED IN PART.




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                                UNITED STATES COURT OF APPEALS
                                   FOR THE ELEVENTH CIRCUIT
                                    ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                                  56 Forsyth Street, N.W.
                                                  Atlanta, Georgia 30303


John Ley                                                                                          For rules and forms visit
Clerk of Court                                                                                    www.ca11.uscourts.gov

                                                 June 22, 2012

   MEMORANDUM TO COUNSEL OR PARTIES

  Appeal Number: 11-15649-BB
  Case Style: Dexter Webb v. The City of Riverdale, et al
  District Court Docket No: 1:10-cv-04035-RLV

  Enclosed is a copy of the court's decision filed today in this appeal. Judgment has this day been entered
  pursuant to FRAP 36. The court's mandate will issue at a later date in accordance with FRAP 41(b).

  The time for filing a petition for rehearing is governed by 11th Cir. R. 40-3, and the time for filing a
  petition for rehearing en banc is governed by 11th Cir. R. 35-2. Except as otherwise provided by FRAP
  25(a) for inmate filings, a petition for rehearing or for rehearing en banc is timely only if received in the
  clerk's office within the time specified in the rules. Costs are governed by FRAP 39 and 11th Cir.R. 39-1.
  The timing, format, and content of a motion for attorney's fees and an objection thereto is governed by
  11th Cir. R. 39-2 and 39-3.

  Please note that a petition for rehearing en banc must include in the Certificate of Interested Persons a
  complete list of all persons and entities listed on all certificates previously filed by any party in the
  appeal. See 11th Cir. R. 26.1-1. In addition, a copy of the opinion sought to be reheard must be included
  in any petition for rehearing or petition for rehearing en banc. See 11th Cir. R. 35-5(k) and 40-1 .

  Counsel appointed under the CRIMINAL JUSTICE ACT must file a CJA voucher claiming
  compensation for time spent on the appeal no later than 60 days after either issuance of mandate or filing
  with the U.S. Supreme Court of a petition for a writ of certiorari (whichever is later).

  Pursuant to Fed.R.App.P. 39, each party to bear own costs.

  The Bill of Costs form is available on the internet at www.ca11.uscourts.gov

  For questions concerning the issuance of the decision of this court, please call the number referenced in
  the signature block below. For all other questions, please call Carol R. Lewis, BB at (404) 335-6179.

  Sincerely,

  JOHN LEY, Clerk of Court

  Reply to: Djuanna Clark
  Phone #: 404-335-6161


                                                                      OPIN-1A Issuance of Opinion With Costs
